           Case 2:11-cr-00116-LRS            ECF No. 137                filed 12/02/11              PageID.264 Page 1 of 2
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                 «7109»
                                                                      for
                                             Eastern District of Washington


 U.S.A. vs.                 Darryl Patrick Sargent                                    Docket No.                2:11CR00116-002


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Darryl Patrick Sargent who was placed under pretrial release supervision by the Honorable James P. Hutton
sitting in the court at Spokane, Washington, on the 25th day of July 2011 under the following conditions:

Condition #20: Refrain from use of unlawful possession of a narcotic drug or other controlled s substances defined in
21 U.S.C. § 802, unless prescribed by a licensed medical practitioner

Condition #27: Prohibited Substance Abuse Testing: If random urinalysis testing is not done through a treatment
program, random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per
month. Defendant shall submit to any method of testing required by the Pretrial Services Office for determining whether
the Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine
testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening
or testing. Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the
efficiency and accuracy of prohibited substance testing. Full mutual released shall be executed to permit
communication between the court, Pretrial Services, and the treatment vendor. Treatment shall not interfere with
Defendant’s court appearances.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant admitted to using methamphetamine on November 7 and 10, 2011.

Violation #2: On November 8, 2011, the defendant used a device in an attempt to obstruct and tamper with the efficiency
and accuracy of a prohibited substance test.

Violation #3: The defendant refused to provide a valid urine sample for the purposes of prohibited substance testing on
November 8, 2011.

                   PRAYING THAT THE COURT WILL MODIFY CONDITIONS OF RELEASE

                                                                                         I declare under penalty of perjury that
                                                                                         the foregoing is true and correct.
                                                                                         Executed on:        12/02/2011
                                                                                by       s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Probation Officer
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  Re: Sargent, Darryl Patrick
  December 2, 2011
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[; ]     The Issuance of a Summons
[ ]      Other                                                6&<17+,$,0%52*12
                                                              Signature of Judicial Officer

                                                                
                                                              Date
